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13                              UNITED STATES DISTRICT COURT

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                      SAN JOSE DIVISION
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17   SKILLZ PLATFORM INC., a Delaware                 Case No.: 5:21-cv-02436-BLF (SVK)
     corporation,
18                                                    DEFENDANT AVIAGAMES INC.’S
                         Plaintiff,                   MOTION FOR RELIEF FROM
19                                                    NONDISPOSITIVE PRETRIAL ORDER
           v.                                         OF MAGISTRATE JUDGE
20
     AVIAGAMES INC., a Delaware
21   corporation,

22                       Defendant.

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                                                                          Case No.: 5:21-cv-02436-BLF
                                Motion for Relief from Nondispositive Pretrial Order of Magistrate Judge
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                                Motion for Relief from Nondispositive Pretrial Order of Magistrate Judge
